                         TABLE OF EXHIBITS

Exhibit        Description

Exhibit A      Plaintiff’s Motion for Prejudgment Writ of Attachment,
               Docket No. 121, Givens v. Oenga Jr., No. 3:21-cv-0000-HRH
               (D. Alaska June 11, 2024)

Exhibit B      (Filed Under Seal) Excerpts of Transcript, Testimony of
               Raymond C. Givens, Alaska Bar Association Fee Arbitration,
               Leroy Oenga Jr. v. Raymond C. Givens, No. 2021-F012

Exhibit C      Declaration of Raymond C. Givens, Docket No. 21, Givens v.
               Oenga Jr., No. 3:21-cv-00008-HRH (D. Alaska May 10, 2021)

Exhibit D      Contingency Fee Contract, dated October 31, 2003

Exhibit E      Order on Motion for Reconsideration, Docket No. 54, Givens
               v. Oenga Jr., No. 3:21-cv-00008-HRH (D. Alaska Sept. 24,
               2021)

Exhibit F      Contingency Fee Contract First Amendment, dated August
               5, 2011

Exhibit G      (Filed Under Seal) Excerpts of Transcript, Deposition of
               Raymond C. Givens, Alaska Bar Association Fee Arbitration,
               Leroy Oenga Jr. v. Raymond C. Givens, No. 2021-F012 (Oct.
               12, 2022)

Exhibit H      (Filed Under Seal) Settlement Agreement and Release of All
               Claims, dated May 24, 2012

Exhibit I      (Filed Under Seal) U.S. Department of the Interior, Bureau
               of Indian Affairs, Lease Agreement, BIA Lease No. 985-1472
               (May 24, 2012)

Exhibit J      Fee/Cost Reduction Agreement, dated May 24, 2012



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Exhibit K      Letter from Eugene R. Virden, Regional Director, BIA
               Alaska Region, to Raymond C. Givens (Dec. 9, 2011)
               (redacted as filed at Docket No. 66, Givens v. Wallace Oenga,
               No. 3:19-cv-00043-HRH (D. Alaska Feb. 18, 2020))

Exhibit L      Complaint for Declaratory Judgment, Damages, and Specific
               Performance, Docket No. 1, Givens v. Oenga Jr., No. 3:21-cv-
               00008-HRH (D. Alaska Jan. 19, 2021)

Exhibit M      United States’ Supplemental Brief Regarding Plaintiff’s
               Motion to Enforce Judgment and Rule 70(a) Order and the
               Court’s Order to Show Cause, Docket No. 69, Givens v.
               Wallace Oenga, No. 3:19-cv-00043-HRH (D. Alaska Mar. 19,
               2020).

Exhibit N      Complaint for Declaratory Judgment, Damages, and Specific
               Performance, Docket No. 1, Givens v. Wallace Oenga, No.
               3:19-cv-00043-HRH (D. Alaska Feb. 14, 2019)

Exhibit O      Order on Motion for Rule 60(b) Relief, Docket No. 90, Givens
               v. Wallace Oenga, No. 3:19-cv-00043-HRH (D. Alaska Mar. 1,
               2023)

Exhibit P      Memorandum from Raymond C. Givens to the Oenga Heirs
               (Aug. 15, 2011)

Exhibit Q      Ballot re: Settlement Agreement; Oenga v. US et al CFC
               #06-491L, dated August 5, 2011

Exhibit R      Givens Law Firm, Account QuickReport, 2008–2021

Exhibit S      United States Treasury Checks to Raymond C. Givens

Exhibit T      Letter from Raymond C. Givens to Michael D. Stotts (Sept.
               11, 2003)




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